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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

   Civil Action No. 18-cv-02734-CMA-NRN

   UNITED STATES OF AMERICA,

               Plaintiff,

   v.

   1.    REAL PROPERTY LOCATED AT 640 LEO LANE, THORNTON, COLORADO;
   2.    REAL PROPERTY LOCATED AT 10452 DALE CIRCLE, WESTMINSTER,
         COLORADO;
   3.    $6,991.00 IN UNITED STATES CURRENCY;
   4.    2012 TOYOTA TUNDRA, VIN: 5TFDY5F12CX259267;
   5.    2011 TOYOTA SIENNA, VIN: 5TDDK3DC5BS005910;
   6.    2012 TOYOTA HIGHLANDER, VIN: 5TDBK3EH7CS127963;
   7.    REAL PROPERTY LOCATED AT 8911 W. COOPER AVENUE, LITTLETON,
         COLORADO;
   8.    $29,063.00 IN UNITED STATES CURRENCY;
   9.    $1,100.00 IN UNITED STATES CURRENCY;
   10.   REAL PROPERTY LOCATED AT 1125 SPANGLER DRIVE, NORTHGLENN,
         COLORADO;
   11.   $27,838.00 IN UNITED STATES CURRENCY;
   12.   REAL PROPERTY LOCATED AT 13759 STEELE COURT, THORNTON,
         COLORADO;
   13.   $62,008.00 IN UNITED STATES CURRENCY;
   14.   REAL PROPERTY LOCATED AT 13865 MILWAUKEE STREET, THORNTON,
         COLORADO;
   15.   REAL PROPERTY LOCATED AT 11139 W. TENNESSEE COURT,
         LAKEWOOD, COLORADO;
   16.   REAL PROPERTY LOCATED AT 12911 CLARKSON CIRCLE, THORNTON,
         COLORADO;
   17.   $6,880.00 IN UNITED STATES CURRENCY;
   18.   $2,620.00 IN UNITED STATES CURRENCY;
   19.   $1,269.00 IN UNITED STATES CURRENCY;
   20.   $9,092.00 IN UNITED STATES CURRENCY;
   21.   REAL PROPERTY LOCATED AT 4056 E. 130TH WAY, THORNTON,
         COLORADO;
   22.   $22,076.00 IN UNITED STATES CURRENCY;
   23.   REAL PROPERTY LOCATED AT 12352 W. IOWA DRIVE, LAKEWOOD,
         COLORADO;
   24.   REAL PROPERTY LOCATED AT 5786 W. 2ND AVENUE, LAKEWOOD,

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         COLORADO;
   25.   REAL PROPERTY LOCATED AT 1913 S. MICHIGAN PLACE, DENVER,
         COLORADO;
   26.   $93,050.00 IN UNITED STATES CURRENCY;
   27.   REAL PROPERTY LOCATED AT 7866 VALLEJO STREET, DENVER,
         COLORADO;
   28.   REAL PROPERTY LOCATED AT 13103 BELLAIRE DRIVE, THORNTON,
         COLORADO;
   29.   $9,290.00 IN UNITED STATES CURRENCY;
   30.   $2,000.00 IN UNITED STATES CURRENCY;
   31.   REAL PROPERTY LOCATED AT 2360 W. 74TH AVENUE, DENVER,
         COLORADO;
   32.   $4,523.00 IN UNITED STATES CURRENCY;
   33.   REAL PROPERTY LOCATED AT 12895 CLARKSON CIRCLE, THORNTON,
         COLORADO;
   34.   $51,510.00 IN UNITED STATES CURRENCY;
   35.   REAL PROPERTY LOCATED AT 14575 HIGH STREET, THORNTON,
         COLORADO;
   36.   REAL PROPERTY LOCATED AT 5227 GENTLE WIND ROAD, COLORADO
         SPRINGS, COLORADO;
   37.   $69,490.00 IN UNITED STATES CURRENCY;
   38.   REAL PROPERTY LOCATED AT 7914 KETTLE DRUM STREET, COLORADO
         SPRINGS, COLORADO;
   39.   $3,972.00 IN UNITED STATES CURRENCY;
   40.   REAL PROPERTY LOCATED AT 18670 E. IDA AVENUE, AURORA,
         COLORADO;
   41.   $53,042.00 IN UNITED STATES CURRENCY;
   42.   REAL PROPERTY LOCATED AT 890 E. 129TH AVENUE, THORNTON,
         COLORADO;
   43.   $24,119.00 IN UNITED STATES CURRENCY;
   44.   REAL PROPERTY LOCATED AT 783 MILKY WAY, THORNTON, COLORADO;
   45.   $3,340.00 IN UNITED STATES CURRENCY;
   46.   $5,810.00 IN UNITED STATES CURRENCY;
   47.   $14,254.00 IN UNITED STATES CURRENCY;
   48.   $5,634.00 IN UNITED STATES CURRENCY;
   49.   $6,134.00 IN UNITED STATES CURRENCY;
   50.   $28,443.00 IN UNITED STATES CURRENCY;
   51.   $8,000.00 IN UNITED STATES CURRENCY;
   52.   $18,440.00 IN UNITED STATES CURRENCY;
   53.   $53,849.00 IN UNITED STATES CURRENCY;
   54.   $16,200.00 IN UNITED STATES CURRENCY;
   55.   $3,160.00 IN UNITED STATES CURRENCY;
   56.   $31,188.00 IN UNITED STATES CURRENCY;
   57.   $2,490.00 IN UNITED STATES CURRENCY;

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   58.   $4,265.00 IN UNITED STATES CURRENCY;
   59.   $2,000.00 IN UNITED STATES CURRENCY;
   60.   $18,950.00 IN UNITED STATES CURRENCY;
   61.   $4,613.00 IN UNITED STATES CURRENCY;
   62.   $2,500.00 IN UNITED STATES CURRENCY;
   63.   2018 TOYOTA 4RUNNER, VIN: JTEBU5JR8J5519773;
   64.   2012 HONDA PILOT, VIN: 5FNYF4H99CB040658;
   65.   2016 BMW X5 SUV, VIN: 5YMKT6C59G0R77777;
   66.   2001 MERCEDES-BENZ, VIN: WDBFA68F51F200369;
   67.   2002 PORSCHE 911, VIN: WP0AB29902S686480;
   68.   2014 SUBARU LEGACY, VIN: 4S4BRDLC1E2307535;
   69.   2012 TOYOTA RAV4, VIN: 2T3BK4DV6CW089914;
   70.   2015 TOYOTA SIENNA, VIN: 5TDJK3DCXFS126621;
   71.   2014 TOYOTA FJ CRUISER, VIN: JTEBU4BFXEK190094; and
   72.   2015 SCION TC, VIN: JTKJF5C72FJ003406,

              Defendants.
   ______________________________________________________________________

                  DEFAULT AND FINAL ORDER OF FORFEITURE
                       FOR CERTAIN DEFENANT ASSETS
   ______________________________________________________________________

         THIS MATTER comes before the Court on the United States= Motion for Default

   and Final Order of Forfeiture for Certain Defendant Assets (Doc. # 186), the Court

   having reviewed said Motion FINDS that:

         •      The United States commenced this civil forfeiture action, pursuant to 21

   U.S.C. § 881. (Doc. 3);

         •      The facts and verifications as set forth in the Verified Complaint provide

   probable cause and an ample basis by a preponderance of the evidence for a final

   judgment and order of forfeiture as to the following defendant assets:

                20.    $9,092.00 in United States currency

                46.    $5,810.00 in United States currency



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                47.    $14,254.00 in United States currency

                49.    $6,134.00 in United States currency

                50.    $28,443.00 in United States currency

                52.    $18,440.00 in United States currency

                55.    $3,160.00 in United States currency

                56.    $31,188.00 in United States currency

                57.    $2,490.00 in United States currency

                58.    $4,265.00 in United States currency

                59.    $2,000.00 in United States currency

                60.    $18,950.00 in United States currency

                62.    $2,500.00 in United States currency

                63.    2018 Toyota 4Runner, VIN: JTEBU5JR8J5519773

                64.    2012 Honda Pilot, VIN: 5FNYF4H99CB040658

                70.    2015 Toyota Sienna, VIN: 5TDJK3DCXFS126621

         •      All known interested parties have been provided an opportunity to respond

   and that publication has been effected as required by Rule G(4) of the Supplemental

   Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions. (Docs. 55 and 81);

         •      No claim, answer, or other responsive pleading has been filed as to the

   certain defendant assets, and the time for which to do so, has expired;

         IT IS THEREFORE ORDERED that the United States’ Motion for Default and

   Final Order of Forfeiture for Certain Defendant Assets (Doc. # 186) is GRANTED:




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         •      The United States shall have full and legal title to the following defendant

   assets, and may dispose of the assets in accordance with law:

                20.    $9,092.00 in United States currency

                46.   $5,810.00 in United States currency

                47.    $14,254.00 in United States currency

                49.    $6,134.00 in United States currency

                50.    $28,443.00 in United States currency

                52.   $18,440.00 in United States currency

                55.    $3,160.00 in United States currency

                56.    $31,188.00 in United States currency

                57.    $2,490.00 in United States currency

                58.    $4,265.00 in United States currency

                59.    $2,000.00 in United States currency

                60.    $18,950.00 in United States currency

                62.    $2,500.00 in United States currency

                63.    2018 Toyota 4Runner, VIN: JTEBU5JR8J5519773

                64.    2012 Honda Pilot, VIN: 5FNYF4H99CB040658

                70.    2015 Toyota Sienna, VIN: 5TDJK3DCXFS126621

         •      The Clerk of the Court is directed to enter Judgment; and




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         •      A Certificate of Reasonable Cause, which this Order constitutes, is

   granted as to the defendant assets, pursuant to 28 U.S.C. ' 2465.

         DATED: December 6, 2021

                                                  BY THE COURT:


                                                  __________________________
                                                  CHRISTINE M. ARGUELLO
                                                  United States District Judge




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